          Case 1:22-cr-00219-BAH            Document 348           Filed 04/16/25      Page 1 of 6
                                                            U.S. Department of Justice
                                                            United States Attorney
                                                            District of Maryland

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                                               April 16, 2025

VIA ECF

Honorable Brendan A. Hurson
United States District Judge
District of Maryland
101 W. Lombard St.
Baltimore, MD 21201


           Re:        United States v. Sky Tiffany Lawson
                      Criminal No. BAH-22-219

Dear Judge Hurson:

        On June 21, 2022, the Defendant was indicted in the United States District Court for the
District of Maryland and charged with Count 1, Conspiracy to Commit Wire Fraud (18 U.S.C. §
1349); Counts 20, Wire Fraud (18 U.S.C. § 1343); and Count 38, Aggravated Identity Theft (18
U.S.C. § 1028A). On November 30, 2022, a Superseding Indictment was returned with the same
charges. On January 22, 2025, the Defendant entered a plea of Guilty to Counts 1 and 38,
Conspiracy to Commit Wire Fraud and Aggravated Identity Theft, respectively.

        The sentencing hearing in the above-captioned matter is currently scheduled for May 2,
2025, at 11:00 a.m. As calculated in the Presentence Investigation Report (“PSR”), ECF 335, the
Defendant’s offense level is 20 and her criminal history category is I, resulting in an advisory
USSG sentencing range of 33 to 41 months of incarceration, followed by the 2-year mandatory
minimum consecutive period of incarceration for Count 38. The overall sentencing guidelines are
therefore 57 to 65 months of incarceration.

        The Government requests a sentence of 24 months of incarceration, consecutive to any
time already served. In addition to a period of incarceration, the Government requests a period of
three (3) years of supervised release, restitution in the amount of $2,094,319.00, forfeiture in the
amount of $25,000, and a special assessment of $100 for each count.

       The Government submits that its requested sentence is sufficient, but no greater than
necessary, to satisfy the purposes set forth in 18 U.S.C. 3553(a).
       Case 1:22-cr-00219-BAH          Document 348         Filed 04/16/25      Page 2 of 6

       I.      18 U.S.C. § 3553(a) Sentencing Factors

        The Government’s requested sentence of 24 months of incarceration is supported by the
factors outlined in 18 U.S.C. § 3553(a).

       (1)     Nature and Circumstances of the Offense

       First, as to “the nature and circumstances of the offense,” under 18 U.S.C. § 3553(a)(1),
the Government submits that the offense conduct was serious and victimized several individuals
and entities. Moreover, the circumstances of the offense are compelling.

        In the spring of 2020, Congress passed the Coronavirus Aid, Relief and Economic Security
(CARES) Act, which provided for a variety of economic benefits to struggling Americans during
a time of severe negative economic impact as a result of the COVID-19 pandemic. While most
individuals were sheltering in place, taking care of loved ones, and often making tough financial
sacrifices, the Defendant Aiyanna Washington collaborated with others to fraudulently obtain and
use COVID-19 benefit money, specifically unemployment insurance (UI) benefits. The Defendant
repeatedly took advantage of programs meant to help those in need; she did so for her own selfish
purposes. The personal identifying information (PII) of real people were used and compromised
during this scheme. These victims cannot fully know today the long term affects this breach will
have on them and their financial security.

        As detailed in her plea agreement, the Defendant worked very closely with one of her co-
conspirators in particular, agreeing to allow her address to be used in the fraudulent application of
UI benefits. The Defendant would text photos of the DLR mailings she received to her co-
conspirator. She received the PII of victim S.C., including her name, date of birth and social
security number; the Defendant then applied for the benefits in S.C.’s name. The Defendant even
recorded herself trying to apply for benefits for S.C. It did not matter to the Defendant who S.C.
was, whether or not she was an actual human who could suffer real consequences from this fraud.
In fact, S.C. was a person who was in a memory care facility in Virginia, wholly reliant on her
husband as power of attorney. S.C.’s information was used to benefit the Defendant with $25,000
in fraudulent funds.

         The Defendant’s mailing address was used in several other filings, meaning she had applied
for and/or received the benefits cards that arrived at her home. The Defendant would then work
in partnership with her co-conspirators to cash in on those debit cards. Victims M.Q., Y.Z. and
L.B. were all listed as living at the Defendant’s address; a total loss of over $65,000 was generated
in their names.

       As detailed in the plea agreement, the Defendant did play an active role in a total loss of
over $2M from the COVID-19 CARES Act funds created at a time of a national health crisis not
seen in 100 years. The Defendant received and used the PII of real people without regard as to
how her crimes could impact their credit history or ability to apply for actual benefits if they had
been needed.


                                                 2
        Case 1:22-cr-00219-BAH               Document 348           Filed 04/16/25         Page 3 of 6

        (2)      The History and Characteristics of the Defendant

       The Defendant has no prior convictions. She is considered a “zero point” offender and,
under U.S.S.G. §§4C1.1(a) and (b), two levels have been deducted from her offense level.

        The Defendant’s reported childhood is unremarkable in as far as substance abuse, mental
health, gambling, etc., in the context of understanding her motives for fraud and theft. In fact, she
seemed to have a stable home environment and has an employment history that suggests she is
capable of working and earning income. It would seem that the motives for this theft have nothing
to do with substance abuse, care for a child or loved one, inability to work, or anything else that
could help explain, though not excuse, why this occurred. The motivation appears to be purely
based about greed and financial gain.

        (3)      Need to Afford Adequate Deterrence to Criminal Conduct:

         Under 18 U.S.C. § 3553(a)(2)(B), there is a need “to afford adequate deterrence to criminal
conduct.” A sanction needs to be imposed to send a signal to others who would contemplate
engaging in wire fraud and aggravated identity theft. A sentence of 24 months of incarceration
for this fraud scheme deters others.

       General deterrence is particularly important sentencing factor in fraud cases such as this
one because it is viewed to be effective. See United States v. Martin¸ 455 F.3d 1227, 1240 (11th
Cir. 2006) (“Because economic and fraud-based crimes are more rational, cool and calculated than
sudden crimes of passion or opportunity, these crimes are prime candidates for general
deterrence.”); United States v. Edwards¸595 F.3d 1004, 1021 (9th Cir. 2010)(“[B]ank fraud, unlike
an assault in a tavern or even domestic abuse, tends to be a planned, deliberate crime, which allows
plenty of time for reflection, calculation of the odds of success or failure, and the ultimate
decision.”) The deliberate nature of fraud often renders it more difficult to uncover, since
individuals engaged in fraud take affirmative steps to conceal their identities and conduct.

         The pandemic led to a surge in identity theft and fraud against government programs in
2020 and thereafter, resulting in estimated hundreds of billions of total losses 1. Despite its best
efforts, law enforcement will be unable to catch and convict all of the opportunistic fraudsters who
made off with taxpayers’ funds during the pandemic. This case presents a worthwhile opportunity
for the Court to impose a sentence that will grab the attention of those who may be considering
similar crimes.

        (4)      Need to Avoid Unwarranted Sentence Disparities:

       Under 18 U.S.C. § 3553(a)(6), there is a need to “avoid unwarranted sentence disparities
among defendants with similar records who have been found guilty of similar conduct.” Although
Wire Fraud cases are not novel in this jurisdiction, the backdrop of the COVID-19 crisis in the
United States from 2020 through at least 2022 is unique.
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 See Richard Lardner et al, The Great Grift: How billions in COVID-19 relief aid was stolen or wasted, Associated
Press, June 12, 2023, http://apnews.com/article/pandemic-fraud-waste-billions-small-business-labor-
fb1d9a9eb24857efeb4611344311ae78.
                                                         3
       Case 1:22-cr-00219-BAH          Document 348        Filed 04/16/25     Page 4 of 6



        In United States v. Gladstone Njokem, RDB-21-338, the defendant and his co-defendants
conspired to impersonate victims in order to obtain money by submitting fraudulent claims for UI
benefits. Their scheme amounted to a $1.3M loss and affected over 183 victims with regard to
stolen PII. Judge Bennett imposed a sentence of 54M of incarceration in addition to the restitution
and three years of supervised release. The defendant’s criminal history category was a II.

        In United States v. Jerry Phillips, TDC-22-073, the defendant and his co-defendant, Jaleel
Phillips, were sentenced to 7 years and 30 months in prison, respectively. The men applied for
UI claims as well as other loans, using the PII of victims. They were able to fraudulently obtain
more than $1M in COVID-19 CARES Act Paycheck Protection Program (PPP) loan applications,
Economic Injury Disaster loan (EIDL) applications and UI claims. Additionally, Jerry Phillips
had a machine gun in his possession at the time of his arrest, which he had purchased as a “ghost
gun” and modified. Both Jerry and Jaleel Phillips had a criminal history category of I.

        In the United States v. Keon Ball, DKC-20-248, the defendant was sentenced to 66 months
in prison in relation to a $715,000 wire fraud scheme that encompassed at least 10 victims of
aggravated identity theft. The defendant applied for multiple COVID-19 CARES Act PPP loans
using the names of the victims and perpetrated other types of frauds as well.

         In a look across the country as to how various districts are sentencing COVID-19 related
fraud cases committed during a time of national crisis, several cases are consistent with the
Government’s recommendation here and have yield significant sentences. See, e.g., United States
v. Joseph Marsell Cartlidge, Eric Alexander McMiller, and David Christopher Redfern¸1:20-CR-
340 (M.D.N.C. 2022) (receiving 72 months, 66 months, and 60 months of imprisonment,
respectively for submitting fraudulent PPP and EIDL applications, obtaining $1.2M in loans);
United States v. Lola Kasali, 4:20-MJ-1106 (S.D. Tex. 2022) (receiving 70 months of
imprisonment for submitting two fraudulent PPP loan applications and obtaining $1.9M in loans);
United States v. Tarik Freitekh, 3:20-CR-00435 (W.D.N.C. 2022) (receiving 87 months of
imprisonment for submitting fraudulent PPP applications and obtaining $1.75M in loans) United
States v. Adam D. Arena, 21-MJ-05134 (W.D.N.Y. 2022) (receiving 66 months of imprisonment
for his role in fraudulently obtaining and laundering approximately $950,000 in pandemic loans).

       In this case specifically, these co-defendants have received the following sentences:

       Michael Makoge – 53 months
       Dementrous Von Smith – 53 months
       Christian Adrea – 36 months
       Stephawn Watson – 53 months
       Christopher Yancy – 63 months
       Aiyanna Washington – 24 months

        A sentence of 24 months is wholly consistent with the sentences imposed in this specific
case, in this District, and in the United States for the type of fraud committed during a global
pandemic.

                                                4
       Case 1:22-cr-00219-BAH           Document 348        Filed 04/16/25      Page 5 of 6

       II.     Defendant’s Objections to the PSR

        The Defendant, through her attorney, noted several objections to the PSR, ECF 335 at p.
18. Of concern is the Defendant’s objection to the “offense level calculation” which was found to
be a 20. Id. at ¶ 32. The plea agreement, ECF 306, provided an offense level calculation of 22,
because the “zero-point offender” offense level reduction had not been applied, due to the need to
first assess the criminal history computation. However, the Defendant seems to retro-actively
object to the loss amount of “more than $1,500,000” (U.S.S.G. §2B1.1(b)(1)(I)), and the
application of a 16-level increase to the base offense level.

        The Government contacted the Defendant’s attorney via email who clarified that his
objections were meant to advocate for his client as to why a sentence below guidelines is
appropriate, and not because he is taking issue with the guidelines or the plea agreement. To that
end, the Government concedes that the Defendant did not directly receive an amount loss of just
over two million dollars, but rather she was part of a large conspiracy that caused that loss amount;
the Government agrees that the Defendant had a lesser role in the conspiracy as a whole. It is
exactly for these reasons that the Government made the plea agreement that it has, in addition to
weighing the Defendant’s punishment against the sentences already imposed for the more liable
members of the conspiracy.

       III.    Victim Impact

        The Government has notified the victims of the offense of the sentencing hearing; it is still
unknown if some will submit victim impact statements, address the Court at sentencing, and/or
attend the sentencing hearing. No victim impact statements have been received to date. Of course,
as victims of the offense, they are entitled to do any/all of the above. See, 18 U.S.C. § 3771. As
soon as the Government is aware, we will advise the Court.

       IV.     Restitution Request

         Pursuant to 18 U.S.C. § 3663A and U.S.S.G. §5E1.1, restitution shall be ordered in this
case. As such, the United States respectfully requests that an Order of Restitution be entered, as
part of the Defendant’s sentence in this matter, in the total amount of $2,094,319, joint and several
with the co-defendants. The Government will provide contact information for the payment of
restitution to these victims to the Courtroom Deputy via a separate document.

       V.      Forfeiture

       The forfeiture amount is calculated to be $25,000. The Government will file a forfeiture
order in advance of sentencing reflecting the total amount.


       VI.     Conclusion

       For the reasons set forth above, the Government respectfully submits that 24 months of
incarceration, consecutive to the time she has already served, and 3 years of supervised release is
                                                 5
      Case 1:22-cr-00219-BAH        Document 348      Filed 04/16/25     Page 6 of 6

a reasonable sentence, and is sufficient, but not greater than necessary to comply with the
sentencing factors set forth in 18 U.S.C. § 3553(a)(2).


                                                Very truly yours,

                                                Kelly O. Hayes
                                                United States Attorney


                                                Colleen Elizabeth McGuinn
                                                Assistant United States Attorney




CC: Mr. Dennis Boyle, Esq.
    Ms. Paige Cameron, USPO




                                            6
